                         UNITED STATES BANKRUPTCY COURT
                               Eastern District of Michigan
                                Southern Division - Detroit


In re:
                                                                 Case No.: 11-47422wsd
Pearl Management Corporation,                                    Chapter 11
                           Debtor.                               Hon. Walter Shapero
___________________________________/



                    OPINION ON DEBTOR’S MOTION SEEKING
              INJUNCTIVE RELIEF AGAINST CERTAIN CREDITORS ETC.


         Debtor has filed a Motion For Entry of Order Enjoining Creditors From Performing Any

Legal Action or Action of Collection or Otherwise upon the Assets, Earnings or Property of

Pearl Management Corporation, Inc. or Stephen Vannoy or Patricia Vannoy ("Motion"). The

Motion is objected to by (a) Creditors ICA Tony Corporation and Stanley A. Mitchell

(collectively "Mitchell") who hold a prepetition state court judgment against Debtor, Stephen

Vannoy and Patricia Vannoy; and (b) Talmer Bank and Trust ("Talmer") which holds a note and

mortgage on certain of Debtor's realty, payment of which was guaranteed by Stephen Vannoy

and Patricia Vannoy.


         The Vannoys (husband and wife) are the President and Secretary/Treasurer respectively

of Debtor and together hold 100% of its stock. They have not received any compensation or

distributions as such for a long time. The business of Debtor is the ownership and rental of a

number of residential and commercial properties in the City of Detroit of varying sizes and

locations. Prior to the filing of this case on March 18, 2011, Mitchell sought payment of its

judgment by various means, including securing appointment of a state court receiver over



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various properties and garnishment of Patricia Vannoy's wages from her employer. There was

extensive litigation with the receiver, ultimately resulting in his being required to turnover the

property of the receivership to the debtor-in-possession. The garnishment of Patricia Vannoy’s

wages continued post-petition until the Court issued an order enjoining certain collection

activities against the Vannoys individually.        That order expired and the pending Motion

essentially seeks a renewal of that previously expired injunctive order. In its Opinion and Order

dated September 12, 2011, concluding that previous injunction had expired, the Court stated at

page 5,


          There are disagreements among bankruptcy courts as to the extent to which, and
          under what circumstances they can in effect extend the stay (or issue injunctions)
          to protect co-obligors with, or guarantors of, obligations owed by a debtor. That
          inquiry is fact intensive and normally involves criteria and tests applied to
          preliminary injunctive relief, developed in an appropriate evidentiary hearing
          directed essentially to the likelihood that, and the extent to which, if any, non-
          bankruptcy proceedings against non-debtors will materially adversely affect the
          reorganization process.
          During the preliminary proceedings on the Motion, other than with respect to continuing

garnishment proceedings against Patricia Vannoy, Mitchell voluntarily undertook to refrain from

any other proceedings to collect on its judgment against both Vannoys at least until either

confirmation of a plan in this case or a decision that confirmation will not occur. Talmer has not

yet so agreed, and its attorney indicated she would advise the Court if it would. So as to

Mitchell, the question has been narrowed to whether or not Mitchell should be enjoined from

garnishment of Patricia Vannoy’s wages for the indicated period. As to Talmer at the moment,

the issue is potentially broader. Debtor has the burden of proof.


          An evidentiary hearing was held on June 11, 2012. The current status of this chapter 11

case is that Debtor filed its Fourth Amended Plan and Disclosure Statement on May 30, 2012. It
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was the first of such, however, to have been filed following the issuance of this Court's order

requiring the receiver to turnover the property to Debtor and thus, it really is the first to be able

to comprehensively address the full needs and breadth of this case. Debtor is working against a

perceived outside November 2012 date for it to achieve confirmation of a plan. Debtor has just

been advised by the Court that it is required to file by June 30, 2012, a further amended plan and

disclosure statement, before a confirmation hearing date and attendant deadlines etc., can be set.


        Patricia Vannoy was the sole witness at the hearing. She essentially testified that her role

in the confirmation and bankruptcy process to date has been to prepare (a) the filed monthly

required income and expense statements; (b) the tax returns of Debtor when they become due;

and (c) most recently, and importantly, she spent some 14 hours preparing the extensive financial

exhibits which were part of the indicated last filed plan and disclosure statement. She has a

fulltime important position with a large hospital enterprise  where she is responsible for its

receivables. She stated she regularly performed the indicated functions for Debtor essentially

after hours and on weekends, spending anywhere from one to four hours a week doing so in

addition to the indicated 14 hours. She also, candidly and crucially, testified that the

garnishments of her compensation did not adversely affect the performance of her normal

responsibilities, to Debtor as well as those directly related to this chapter 11 proceeding. One

can infer that except possibly for the preparation of the financial materials and exhibits appended

to the filed plans and disclosure statements to date, what she has been doing in relation to Debtor

and the amount of time and effort spent on it is not materially dissimilar from what she was

doing prepetition. There can be no question that she is important to the reorganization process of

this debtor, handling as she does the financial end of the enterprise while her husband handles

management, leasing, rent collections, maintenance and the rest. The question, however, is not
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that. Rather the essential question, at least in relation to Mitchell, is whether in light of the

evidence the limited continued garnishment of her wages by Mitchell warrants the issuance of an

injunction restraining such pending confirmation.


        The applicable law is well-summarized in the case of In re Trans-Service Logistics, Inc.,

304 B.R. 805 (Bankr. S.D. Ohio 2004). In that case, the court said:


        A review of the case law indicates that this Court has the authority to extend the
        automatic stay to non-bankrupt parties, under limited circumstances. 11 U.S.C. §
        105(a). Typically, courts have balanced the four factors considered for the
        issuance of injunctions; i.e., the movant’s likelihood of success on the merits,
        whether the movant will suffer irreparable harm without an injunction; the
        relative harm to others, and the public interest. Essentially, however, it is
        incumbent upon the non-bankrupt party to establish that there is a unity of interest
        with a debtor so that the reorganization efforts of the debtor would be irreparably
        harmed by the continuation of the litigation.

        Id. at 807 (citing among other cases, A.H. Robins Co., Inc. v. Piccinin (In re A.H. Robins

Co., Inc.), 788 F.2d 994, 999 (4th Cir. 1986)). The Ohio case involved a sought-after extension

of the stay to enjoin proceedings against the shareholders who were also, the principal officer

and the general manager of that corporate debtor. In denying the extension and distinguishing

the noted A.H. Robbins case (which Debtor in this case relies on), the Ohio court noted, while

the bankruptcy filing has increased their workloads and required the acquisition of additional

responsibilities, [that] such changes are an inevitable part of the reorganization process. 304

B.R. at 808. It further noted that appropriate scheduling and cooperation of counsel could

combine to “minimize impact upon the Debtor's business operations. 304 B.R. at 808. While

the facts in the Ohio case might differ to some extent, what that court said is entirely appropriate

to the facts in this case.


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              As to the need for Patricia Vannoy to spend time on the preparation of the disclosure

statement and/or formulation of the plan, most of what has to or will be done by her, in fact has

been done. What changes may be needed in the near future will require less time and this in the

context of her testimony that even the large amount of time she spent on such in the immediate

past was not affected by the garnishment (though it also appears for whatever reasons her wages

have not been garnished for the last few months). And, as noted, she was able to properly handle

the much less time intensive ongoing regular financial affairs of Debtor and those related to the

reorganization notwithstanding the garnishments. Her testimony also indicated the garnishment

primarily adversely affected her ability to deal with some of her personal, non-Debtor, liabilities.

Such is not an appropriate basis for the sought-after injunction. She has a number of other

remedies available to her in dealing with her personal situation. Properly looked at this point in

the history of this case, moving it to a possible confirmation is more a matter of the attorney for

Debtor complying with the directions of the Court and legal requirements and properly and

promptly preparing the needed documents and pleadings, and conducting the appropriate

negotiations with Debtor’s creditors to achieve possible confirmation, than it is a matter of the

work and decision making of the Vannoys. Though obviously, as in any chapter 11 case (as the

Ohio Court mentioned), the latter is also required but such comes with the reorganization

territory in every Chapter 11 case. In and of itself that simply does not afford sufficient grounds

for the sought-after extension of the stay and injunction under these facts at this time.1 In sum

there may here be a unity of interest the Courts refer to, but Movants have shown the required

irreparable harm or that balancing the interests tilts in their favor.


                                                            
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  Debtor’s motion also seeks an injunction precluding action against Debtor.  Given the automatic stay, would 
appear to be unnecessary to deal with that request. 
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         Accordingly as to Mitchell, its attorney shall prepare and present under the applicable

rule an appropriate order, incorporating this decision denying an injunction against continuing

the indicated garnishment, but including its expressed undertaking that it does not object, and in

effect consents, to being enjoined from any other actions against both Vannoys attempting to

collect its judgment pending confirmation or a determination that confirmation cannot or will not

occur.


         As to Talmer, it claims to have security interests in some property. Such will be required

to be dealt with in the plan and thus it is in a different position than Mitchell. Therefore the

Court is deferring issuing a directive as to the substance and contents of an order respecting it

pending receipt from Talmer of a communication addressed to Debtor, Mitchell and the Court as

to what, if any, collection actions against the Vannoy it also will voluntarily refrain from during

the same indicated period. Pending such decision however, Talmer is temporarily enjoined from

collection activities against both Vannoys. If that communication is not received by June 27,

2012, Debtor may present an order which mirrors the order in respect to Mitchell.

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Signed on June 15, 2012

                                                        ____ __/s/ Walter Shapero_            ___

                                                           Walter Shapero

                                                           United States Bankruptcy Judge

 




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